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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 BRIAN JOSEPH GREF,
                                                           No. 1:20-cv-005589-GBD
             Plaintiff,
                                                          NOTICE OF NON-PARTY
 v.                                                    NORTHWELL HEALTH, INC.’S
                                                      MOTION TO MODIFY SUBPOENA
 AMERICAN INTERNATIONAL                             SERVED BY DEFENDANT AMERICAN
 INDUSTRIES, et al.,                                   INTERNATIONAL INDUSTRIES

             Defendant.


          PLEASE TAKE NOTICE that, upon the Declaration of Nathan A. Huff dated November

4, 2022, and the accompanying Memorandum of Law in Support of Non-Party Northwell Health

Inc.’s Motion to Modify Subpoena Served by Defendant American International Industries

(collectively, “Moving Papers”), non-party Northwell Health, Inc. (“Northwell”) will move this

Court to enter an Order modifying Defendant American International Industries’ Subpoena to

Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

pursuant to Rule 45(d)(3) of the Federal Rules of Civil Procedure.

          PLEASE TAKE FURTHER NOTICE that, pursuant to Local Civil Rule 6.1(a), any

opposing affidavits and answering memoranda of law (collectively, “Answering Papers”) shall be

served within seven (7) days after service of the Moving Papers, and Northwell’s reply affidavit

and reply memoranda, if any, shall be served within two (2) days after service of the Answering

Papers.




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This the 4th day of November, 2022.


                                      K&L GATES LLP

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